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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


  Civil Action No. 1:22-cv-01129-NYW-SKC

  ERIC COOMER, PH.D.,

        Plaintiff,

  v.

  MICHAEL J. LINDELL,
  FRANKSPEECH LLC,
  AND MY PILLOW, INC.,

        Defendants.


                                  EXHIBIT – 7
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            Critical Review

       or share them (McKenzie McHarg ). These concerns have created a
       social stigma against both conspiracy theories and their adherents
       (Thalmann ) that has led to the pathologizing of conspiracy theories,
       which are often treated as bizarre, irrational, or insane (Butter and Knight
       ; Blanuša and Hristov ; Dentith c).
           Since the  Brexit and Trump campaigns, a new worry has
       emerged: that conspiracy theories are spreading as part of a “post
       truth” environment in which “alternative realities” ﬂourish and “objec
       tive facts are less inﬂuential” than they were in the past (Wang ). As
       the story goes, conspiracy theories have “entered the mainstream,”
       having escaped the “fringes of polite society” (Willingham ). The
       public agrees with these assessments; polls show that a vast majority of
       Americans believe that conspiracy theories are not only more prominent
       now than in the past (CBS News a), but are “out of control”
       (Quinnipiac University Poll ). Surveys also show that the public
       (CBS News b), like many journalists (Collins ; Zadrozny and
       Collins ; Roose ; Wong ; Stelter ), blames social
       media for the prominence of conspiracy theories in our discourse. Poli
       ticians and government ofﬁcials, taking notice of the journalistic narra
       tives and public opinion, have increasingly called for measures to limit
       the reach and inﬂuence of conspiracy theories (Heilweil ; Pecorin
       ), particularly in online environments (Riggleman ).
           However, current proposals to fact check, deplatform, or outright
       censor conspiracy theories fail to offer an objective deﬁnition of “conspi
       racy theory” that would produce defensible guidelines for what does and
       does not count as one. Instead, most discussions invoke some version of
       the unviable and easily abused I know it when I see it standard. If
       translated into policy, such subjectivity would likely result in the selective
       censoring of ideas merely because those with political power wish to
       curtail, stigmatize, or criminalize the ideas of their political opponents.
       This would also have a chilling effect on speech, given that the bound
       aries of acceptable discourse would be both ambiguous and deﬁned, in
       the end, by the norms of the politically dominant group.
           The I know it when I see it standard is now routinely applied to
       castigate ideas that journalists ﬁnd ridiculous (e.g., Hay ), while
       “conspiracy theory” is rarely employed to describe theories that journal
       ists ﬁnd plausible, even when these theories are, literally, accusations that
       a conspiracy has taken place (Coady ). Hence, the allegation that
       Barack Obama was nominated for president despite being ineligible for
